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LINES INSURANCE COMPANY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CALIFORNIA SPECIALTY Case No. 2:21-cv-02542-CAS-JPR
INSULATION, INC.,
Judge: Hon. Christina A. Snyder
Plaintiff,

ALLIED WORLD SURPLUS LINES
V. INSURANCE COMPANY’S

ALLIED WORLD SURPLUS LINES | “NSWER TO COMPLAINT
INSURANCE COMPANY, and DOES
1 THROUGH 10, inclusive,

 

Defendant.

 

COMES NOW ALLIED WORLD SURPLUS LINES INSURANCE
COMPANY (“Allied World”) for itself alone and for no other, answers the
Complaint of CALIFORNIA SPECIALTY INSULATION, INC. (“CSI” or
“Plaintiff’).

1. In answering paragraph 1 of the Complaint, Allied World lacks
sufficient personal knowledge or information to form a belief as to the truth of the

_ allegations and on that basis denies each and every allegation contained therein.

 

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2. In answering paragraph 2 of the Complaint, Allied World denies that it
is a Delaware corporation. Allied World admits that it is authorized to transact
business as a surplus lines insurance company in the state of California.

3. In answering paragraph 3 of the Complaint, Allied World lacks
sufficient personal knowledge or information to form a belief as to the truth of the
allegations and on that basis denies each and every allegation contained therein.

4. In answering paragraph 4 of the Complaint, Allied World admits that it
issued commercial general liability policy number 5057-0295, effective December
17, 2016 to December 17, 2017, to CSI (the “Policy”). The terms of the Policy speak
for themselves.

5. In answering paragraph 5 of the Complaint, Allied World admits that
CSI was named as a defendant in an underlying third-party action entitled Jason
Standiford v. California Specialty Insulation, Inc., et al., Los Angeles Superior Court
Case No. 19STCV36103 (the “Underlying Action”). The allegations asserted in the
complaint in the Underlying Action speak for themselves.

6. In answering paragraph 6 of the Complaint, Allied World admits that it
was tendered a pre-litigation claim asserted by Jason Standiford, and received notice
that a complaint was eventually filed.

7. In answering paragraph 7 of the Complaint, Allied World admits that
in order to protect the rights and interests of its insured, Allied World initially
retained Lewis Brisbois to defend CSI in the Underlying Action while it was still
conducting its investigation whether coverage for the Underlying Action was owed.

8. In answering paragraph 8 of the Complaint, Allied World admits that
after it completed its investigation, it withdrew from the defense of CSI in the
Underlying Action.

9. In answering paragraph 9 of the Complaint, Allied World admits the

allegations contained therein.

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10. In answering paragraph 10 of the Complaint, Allied World lacks
sufficient personal knowledge or information to form a belief as to the truth of the |
allegations, and on that basis denies each and every allegation contained therein.

11. In answering paragraph 11 of the Complaint, Allied world admits that
it contends that it has no duty to defend or indemnify CSI for the claims asserted in
the Underlying Action.

12. In answering paragraph 12 of the Complaint, Allied World denies each
and every allegation therein.

13. In answering paragraph 13 of the Complaint, Allied World admits that
CSI is seeking a judicial determination regarding Allied World’s duty to defend and
indemnify CSI in the Underlying Action. Allied World denies that CSI is entitled
to the relief that it seeks.

PRAYER FOR RELIEF

1-4. Allied World admits that CSI is seeking the relief requested in the
prayer of the Complaint, but denies that CSI is entitled to any of the relief sought
against Allied World.

AFFIRMATIVE DEFENSES
In addition to the foregoing, Allied World asserts the following affirmative
defenses:
FIRST AFFIRMATIVE DEFENSE
(Failure to State a Claim)
The Complaint fails to state a claim upon which relief may be granted.
SECOND AFFIRMATIVE DEFENSE
(Statutes of Limitation)

The Complaint is barred, in whole or in part, by the statute of limitations set
forth in California Code of Civil Procedure §§ 337, 338(1), 339(1), 340(1) and 340(3)
and by California law regarding the statute of limitations for contribution, indemnity

and breach of contract.

 

 

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THIRD AFFIRMATIVE DEFENSE
(Failure to Perform Obligations)
The Complaint is barred because CSI failed to perform its obligations under
the terms of the Policy, thereby excusing Allied World’s performance thereunder.
FOURTH AFFIRMATIVE DEFENSE |
(Policy Terms - Omnibus)
The Complaint is barred in whole or in part by the terms, conditions,
limitations and exclusions contained within the Policy.
FIFTH AFFIRMATIVE DEFENSE
(No "Occurrence")

The Complaint is barred to the extent the events giving rise to the allegations
in the Underlying Action do not constitute an "occurrence" as defined in the Policy.
SIXTH AFFIRMATIVE DEFENSE
(Estoppel)

The Complaint is barred by the doctrine of estoppel.
SEVENTH AFFIRMATIVE DEFENSE
(Unclean Hands)
The Complaint is barred by the unclean hands of CSI.
EIGHTH AFFIRMATIVE DEFENSE
(Waiver)
The Complaint is barred by the doctrine of waiver.
NINTH AFFIRMATIVE DEFENSE
(Laches)
The Complaint is barred by the doctrine of laches.
TENTH AFFIRMATIVE DEFENSE
(Economic Loss)
The Complaint is barred to the extent the claims alleged arise from allegations

of economic loss only.

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ELEVENTH AFFIRMATIVE DEFENSE
(Violation of Law / Public Policy)

The Complaint is barred to the extent that CSI’s acts or failure(s) to act, which
gave rise to the conditions and/or claims referenced in the Complaint and/or the
Underlying Action were in violation of law and/or public policy.

TWELFTH AFFIRMATIVE DEFENSE
(Bodily Injury During Policy Period Limitation)
The Complaint is barred to the extent Underlying Action seeks recovery of
damages for "bodily injury" that did not occur during the period of the Policy.
THIRTEENTH AFFIRMATIVE DEFENSE
(Deductible)
The Complaint is barred to the extent the claims alleged are not in excess of

the deductible(s) stated under the Policy.

FOURTEENTH AFFIRMATIVE DEFENSE
(Contractual Liability)
The Complaint is barred to the extent the Underlying Action sought recovery
for liability that CSI assumed pursuant to contract, lease or any other agreement

which is not explicitly covered by the Policy.

FIFTEENTH AFFIRMATIVE DEFENSE
(Secondary or Excess Obligations)
The Complaint is barred to the extent that Allied World’s obligations are
secondary and excess and that Allied World had no primary obligation to defend or
indemnify CSI in the Underlying Action.

SIXTEENTH AFFIRMATIVE DEFENSE
(Limits of Liability)
The Policy contains various limits of liability, including but not limited to

limits per claim and/or occurrence, per person and in the aggregate. In the event

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Allied World is found to have/had a duty to defend and/or indemnify CSI in
Underlying Action, which Allied World denies, said liability is restricted to the
remaining and applicable limits of the Policy.
SEVENTEENTH AFFIRMATIVE DEFENSE
(Other Insurance — Conditions Section)

The Complaint is barred in whole or in part by reason of other insurance

pursuant to the "other insurance" provision in the Conditions section of the Policy.
EIGHTEENTH AFFIRMATIVE DEFENSE
(Not Damages)

The Complaint is barred to the extent the Underlying Action sought sums
associated with any claim for injunctive, restitutionary or equitable relief, as they do
not constitute claims for "damages" within the meaning of the Policy.

NINETEENTH AFFIRMATIVE DEFENSE
(Insurance Code)

The Complaint is barred in whole or in part by California Insurance Code
§§22 and 250.

TWENTIETH AFFIRMATIVE DEFENSE
(Non-Contingent Claim)

The Complaint is barred to the extent it seeks recovery of sums incurred for
liability arising from an event, act, occurrence, loss or claim that was not fortuitous,
was in progress, or was not contingent at or before the time the Policy was issued.

TWENTY-FIRST AFFIRMATIVE DEFENSE
(Known Losses)
The Complaint is barred in whole or in part to the extent the claims alleged in

the Underlying Action constituted known losses at the time the Policy incepted.

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TWENTY-SECOND AFFIRMATIVE DEFENSE
(Failure to Disclose)
The Complaint is barred to the extent that any insured misrepresented,
concealed or failed to disclose facts or other information relevant to the issuance or

renewal of the Policy.

TWENTY-THIRD AFFIRMATIVE DEFENSE
(Cooperation Clause)
The Complaint is barred to the extent that CSI failed to comply with the

assistance and cooperation clause contained in the Policy.

TWENTY-FOURTH AFFIRMATIVE DEFENSE
(Intentional Acts)
The Complaint is barred to the extent any bodily injury or property damage

was caused intentionally or at the direction of any insured under the Policy.

TWENTY-FIFTH AFFIRMATIVE DEFENSE
(Failure to Mitigate)

The Complaint is barred to the extent that CSI failed to act reasonably on their

own behalf to minimize, avoid or otherwise mitigate damages.
TWENTY-SIXTH AFFIRMATIVE DEFENSE
(No Trigger)

The Complaint is barred as the plaintiff in the Underlying Action failed to
allege facts sufficient to trigger any duty by Allied World to defend and/or indemnify
CSI for any of the claims alleged in the Underlying Action.

TWENTY-SEVENTH AFFIRMATIVE DEFENSE
(Fines / Punitives)

The Complaint is barred to the extent it seeks recovery of costs associated

with statutory violations, criminal fines or sanctions, civil fines or sanctions or other

penalties, including punitive and/or exemplary damages.

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TWENTY-EIGHTH AFFIRMATIVE DEFENSE
(Workers Compensation Exclusion)
The Complaint is barred to the extent the Underlying Action seeks recovery
of sums associated with claims based upon or arising out of any obligation of the
insured under a worker’s compensation, disability benefits or unemployment

compensation law or any similar law.

TWENTY-NINTH AFFIRMATIVE DEFENSE
(Employer’s Liability Exclusion) |

The Complaint is barred to the extent the Underlying Action seeks recovery
of sums associated with bodily injury to an employee of the insured arising out of
the course of employment of the insured or performing duties related to the conduct
of the insured’s business.

THIRTIETH AFFIRMATIVE DEFENSE
(Bodily Injury to Any Employee or Temporary Worker of Contractors Exclusion)

The Complaint is barred as the claims alleged in the Underlying Action is

barred by the “Exclusion — Bodily Injury to Any Employee or Temporary Worker

of Contractors” contained in the Policy, which provides in pertinent part:

It is agreed that this policy is amended as follows:

The following exclusion is added to Paragraph 2., Exclusions of Section
I — Coverages, Coverage A — Bodily Injury and Property Damage
Liability, Paragraph 2., Exclusions of Section I— Coverages, Coverage
B — Personal and Advertising Injury Liability, and Section I —
Coverages, Coverage C — Medical Payments:

This insurance does not apply to:

(1) “Bodily injury” or “personal and advertising injury” to any
“employee” or “temporary worker” of any contractor of
subcontractor arising out of or in the course of rendering or
performing services of any kind or nature by such contractor or
subcontractor;

(2) Any obligation, including contractual liability, of any insured to
indemnify. or contribute with, another person or organization
because of damages arising out of such “bodily injury” or
“personal and advertising tnjury” described in paragraph 1.

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above; or

(3) “Bodily injury. or “personal and advertising injury” sustained by
the spouse, child, parent, brother or sister of any “employee” or
“temporary worker” of any contractor or subcontractor as a
consequence of paragraph (1) above.

All other terms, conditions and exclusions under the policy are
applicable to this endorsement and remain unchanged.

THIRTY-FIRST AFFIRMATIVE DEFENSE
(Reservation of Rights)

Allied World reserves the right to amend this pleading at the conclusion of
discovery to reflect additional affirmative defenses available to it as revealed
through discovery.

PRAYER FOR RELIEF

Wherefore, Allied World prays that:

l. the Court issue a judicial declaration that Allied World has no duty to
defend or indemnify CSI in the Underlying Action.

2. Allied World be awarded its costs of suit incurred herein;
3. The Court grant such other relief as it deems just and proper.
Dated: March 25, 2021 SELMAN BREITMAN LLP

By:_/s/ Gregory J. Newman
GREGORY J. NEWMAN
HEE SUNG YOON
Attorneys for Defendant ALLIED
WORLD SURPLUS LINES
INSURANCE COMPANY

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